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 Nicholas P. Heinke (Colorado Bar No. 38738)
 HeinkeN@sec.gov
 Gregory A. Kasper (Colorado Bar No. 46800)
 KasperG@sec.gov
 Terry R. Miller (Colorado Bar No. 39007)
 MillerTe@sec.gov
 Securities and Exchange Commission
 Byron G. Rogers Federal Building
 1961 Stout Street, Suite 1700
 Denver, CO 80294
 Tel.: 303-884-1000

 Michael E. Welsh (Massachusetts Bar No. 693537)
 welshmi@sec.gov
 Casey R. Fronk (Illinois Bar No. 6296535)
 fronckc@sec.gov
 Troy Flake (California Bar No. 267523)
 flaket@sec.gov
 Attorneys for Plaintiff
 Securities and Exchange Commission
 351 South West Temple, Suite 6.100
 Salt Lake City, Utah 84101
 Tel.: (801) 524-5796

 Attorneys for Plaintiff Securities and Exchange Commission

                        IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, NORTHERN DIVISION


  SECURITIES AND EXCHANGE                              NOTICE OF WITHDRAWAL OF
  COMMISSION,                                                  COUNSEL

         Plaintiff,
                                                   Case No.: 2:23-cv-00482-RJS-DBP
  v.
                                                   Chief Judge Robert J. Shelby
  DIGITAL LICENSING INC. (d/b/a “DEBT
  Box”), a Wyoming corporation; JASON R.           Chief Magistrate Judge Dustin B. Pead
  ANDERSON, an individual; JACOB S.
  ANDERSON, an individual; SCHAD E.
  BRANNON, an individual; ROYDON B.
  NELSON, an individual; JAMES E.
  FRANKLIN, an individual; WESTERN OIL

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  EXPLORATION COMPANY, INC., a
  Nevada corporation; RYAN BOWEN, an
  individual; IX GLOBAL, LLC, a Utah limited
  liability company; JOSEPH A. MARTINEZ,
  an individual; BENJAMIN F. DANIELS, an
  individual; MARK W. SCHULER, an
  individual; B & B INVESTMENT GROUP,
  LLC (d/b/a “CORE 1 CRYPTO”), a Utah
  limited liability company; TRAVIS A.
  FLAHERTY, an individual; ALTON O.
  PARKER, an individual; BW HOLDINGS,
  LLC (d/b/a the “FAIR PROJECT”), a Utah
  limited liability company; BRENDAN J.
  STANGIS, an individual; and MATTHEW D.
  FRITZSCHE, an individual,

        Defendants,

  ARCHER DRILLING, LLC, a Wyoming
  limited liability company; BUSINESS
  FUNDING SOLUTIONS, LLC, a Utah
  limited liability company; BLOX LENDING,
  LLC, a Utah limited liability company;
  CALMFRITZ HOLDINGS, LLC, a Utah
  limited liability company; CALMES & CO,
  INC., a Utah corporation; FLAHERTY
  ENTERPRISES, LLC, an Arizona limited
  liability company; IX VENTURES FZCO, a
  United Arab Emirates company; PURDY
  OIL, LLC, a Nebraska limited liability
  company; THE GOLD COLLECTIVE LLC,
  a Utah limited liability company; and UIU
  HOLDINGS, LLC, a Delaware limited
  liability company,

        Relief Defendants.




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         Pursuant to DUCivR 83-1.4(b), notice is hereby given that Michael E. Welsh

 (Massachusetts Bar No. 693537) withdraws as counsel for Plaintiff, Securities and Exchange

 Commission. Mr. Welsh is no longer employed by the Securities and Exchange Commission.

 Plaintiff continues to be represented by attorneys who have appeared under DUCivR 83-1.3; and

 the continuing attorneys are aware of and will comply with all pending deadlines, hearings, and

 trial dates.



 Dated: April 15, 2024

                                             /s/ Michael E. Welsh
                                             (Signed by Nicholas P. Heinke with permission of
                                             Michael E. Welsh)
                                             /s/ Nicholas P. Heinke
                                             Michael E. Welsh
                                             Securities and Exchange Commission
                                             351 South West Temple, Suite 6.100
                                             Salt Lake City, Utah 84101
                                             Tel: (801) 524-5796

                                             Attorney for Plaintiff
                                             Securities and Exchange Commission




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                                     CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of April, 2024, I filed the foregoing NOTICE OF
 WITHDRAWAL OF COUNSEL via the Court’s CM/ECF System, which sent notification and
 service to all counsel of record.



                                                    /s/ Nicholas P. Heinke
                                                    Nicholas P. Heinke




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